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 6                           UNITED STATES DISTRICT COURT
 7                          CENTRAL DISTRICT OF CALIFORNIA
 8
 9 ELIZABETH CHAVIRA, on               )   CASE NO. SACV 13-0890-JVS-(ANx)
   behalf of herself and her two       )
10 minor daughters, C.R. and M. R.,    )   JUDGMENT IN FAVOR OF DEFENDANT
   as their guardian ad litem,         )   ANTONIO RAMIREZ BASED ON
11                                     )   ORDER OF PARTIAL SUMMARY
             Plaintiff,                )   JUDGMENT AS TO FIRST, THIRD,
12                                     )   SIXTH, AND SEVENTH CAUSES OF
             v.                        )   ACTION OF SECOND AMENDED
13                                     )   COMPLAINT
       J. CHAVEZ, et al.,              )
14                                     )
             Defendants.               )   COURTROOM: 10C - assigned for all
15                                     )   purposes to Judge James V. Selna
                                       )
16                                         COMPLAINT FILED: JUNE 13, 2013
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 1             On September 1, 2015, the Court granted Defendant Antonio Ramirez’s
 2     Motion for Partial Summary Judgment as to the First, Third, Sixth, and Seventh
 3     Causes of Action of the Second Amended Complaint. Docket No. 122.
 4             In accordance with this Court’s September 1, 2015 order granting
 5     defendant’s motion for partial summary judgment (Docket No. 232), IT IS
 6     HEREBY ORDERED THAT JUDGMENT be entered in favor of Defendant
 7     Antonio Ramirez on the First, Third, Sixth, and Seventh Causes of Action of the
 8     Second Amended Complaint. Defendant Antonio Ramirez is entitled to costs of
 9     suit.
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       Dated: July 20, 2016                   ______________________________
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                                              James V. Selna,
13                                            U.S. District Judge
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